       Case 1:22-cv-02463-PGG Document 50-15 Filed 05/22/23 Page 1 of 5




Trion James v. Port Authority Police Department, Port Authority of New York and New Jersey,
Edward Cetnar (in his official capacity), Christopher McNerney (in his official capacity), and
Does 1-5
Civil No.: 1:22-cv-02463-PGG




        EXHIBIT O
Case 1:22-cv-02463-PGG Document 50-15 Filed 05/22/23 Page 2 of 5
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Oct Luis Morales: Todays date is October2S"'. 2021. Time is now 1617 hours. Detedivo
Llrla Montes, Detective Lieutenant Victoria Lubeck. interviewing Jackson, Jackson Stiut.ey,
Host One Dine. Oood at\emoon, Mr. Sturkey, bow am you today?

Jacbon Sturkey:         Doing well. How ya doin'?

Det. Luis Morales:      We're here in, regarding an incident occumd on.October 21 11, 2021 with,
uh, Trion lames.
Jackson Sturkey:        Yes.
Det:. Luis Morales.:    Do you recall the incident?

Jackson Sturkey:        Un'lt so I was up on the 101•t floor in the restaurant, and about 6:061
mceived, wn, a call. Um, the call started; um, 1 always start the calls the same way. U~ thank
you tbr eaUins One Dine at the One World Obsc:rv1tory. My name is Jade.son. How can I help
ya? And I believe the flnt thing they said was rm 9>nna be late, um, and so I wa.:s lib, uh, sir,
whatts your name. Trion James, and I, uh, you know, pulled him up in my system, and, urn, then
I was, and he was like I think rm gonna be able to get there by 7, and I. now we do last
admittance, uh, for our reservations at 6:30 p.m.,, and my last time that we have fur reservation.,
in the system, unless a manager sets up something diffemtt, b 6: 1S p.m., um, and so I make him
aware that we do lut entrance for the observatory at 6:30 p.m., um, but then I offer to ttamfcr
him down to sue.st services 'cause being up in the restaurant we don't de,sl directly with anyone
entering the obffrvatory, and so, which ls a great part of this gig especially with the vaccine
mandate. rve got tame fricads who are hosts at other rcstaumnt1 who've been doubling as
bouncers but because we bave the security and evmytbing down on the ground floor, you knowJ
that had not bcco an issue working this gig. Uh, that befog said, I of1 I offer 1o uansfcr him down
to guest service.a because if he's going to get in after 6:30 it's really up to them, because if I don't
have anyone down there to like scan the bags or anything, 1hml they're Ju.st not coming up.

Det. Luis M<>rales:     Mm hmm.
Jadcson Sturkey.     Um, and we do sometime:., like let people up, uh, later. you know. It just
depends, and then some1imq ifwc let them up later wdre like listen, wdre not doing f\111 dining.
We tan also just accommodate you at the bar for like appetizers. desserts, drinks.

Det. Luis Morales:      Okay.

Jadmon Stortey:         And so, and so I make him aware that, uh, the gate goes down at 6:30, and
I'm like let me transfer you to guest services, and he's like, uh, I overslept. I was supposed to be
with my da'Qlhter. rm not gonna make it by 6:30, and I'm like, I apl, and then what I just
explained to you, I was, you bow, I don't deal directly with entry. I explained in the phone call.
Letmc transfer you to guest.services so they can assist you fbrth~, and then he saya, um, uh oh,
wait a minute. I'm a sergeant with Port Authority. I'll be able to get up. Now I don't know
anything about that. You know, you might as well have told me you're the Wizard of Nod, you
know. U's, it's the same thing of like every day I have someone QOIJUng up and saying can I have




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 Case 1:22-cv-02463-PGG Document 50-15 Filed 05/22/23 Page 3 of 5
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a window table. It's my birthday, but its like I, I mean I can seat you in what l have available. I
can't offer you the laps of my other customer,, and so with this I. you know, uh, that has 11>
effi:ct on anything I can do to help him. The best I can do is get him in contaot with guest
services, and so, you know, then l say again, you know, uh, let me transfer you to guest services.
They11 be able to assist you turther, and then he says rm the guy you guys call if you have an
em~y. Um, I'll be able to set in, and aga)n, rm like pleue let me traosfer you to guest
services because again I, I have no power~. but, you know, um, I said please let me transfer
you to guest scrvi(:CS, They can assist you turther1 and he says no. l'm a sergeant at Port
Authority, rube able to get in. Okay, and that's the way that Ollr conversation ends. Um, and
then it's about 7: 1S that the other host, Vidal, get, a phone call and, uh. I believe ifs one of the
security managers, uh, Tony, um, and I, when we have anyone who's running late or anyone who
calls in just io.- any re11Son, they're like they ha, they~ like I hAve a nut allergy or, you know,
•••• ira an ADDiversary. lf 1make any changes in the system to a reservation, ru make the other
host aware, and so he was aware that Trion James was 1Unnins late and would maybe try to get
up and being our last reservation sort of the thing of the ovening is I wonder ifour friend is going
to make it, and so., um, we're, uh, so we get that call about then 7: 1S, and it is, what I hear, 1.
'eauso I, this, l didn't get, I got, only got that first phone call, so this sec:ond phone ~l was, uh,
Vidal, and this wu then the follow up we had. Um, and so l think) I think it was Tony, but it
was, as Vidal described it, just someone from security, but I, I think it was Tony on the phone
then, and, um, Tony was uldng do you guy, have a reservation for Trion James, and we're like,
uh, yes, we had already no showed it in the system because we hadn't heard from him since I got
the call at lib 6:06 or so, and so we didn't have like a- sometimes people can us like evay 15
minutes and theyll be like hey, our Uber's 5 minutes away, and then; you know, I'll make guest
 services aware, and so guest services wa., aware that, uh, we had, this was our latest running
 reservation, but that, but then we also, we made them aware the last entry's at 6:30, and l tried to
 transfer 'em down but they, uh, decided to not have me transfer 'em. Um, and so then, uh, Vidal
said that he heard them like, heard someone talking in the back, and then whoever they were on
the phone with, wlJ> I assume was Tony, was lib, you know\ theyre not getting up. It's fine.
Have a nice night fellas, and, um, so that was sort of th«t the end of it, and then, you know, •
 anything else that happened, uh, for me was jmt specuJation or gossip, so I can't speak on any of
 that of knowing what occurred beyond that, um, and then ye,terday evening as we were winding
 down, um, I. uh, Vidal said to me did you look at tomorrow's reservations or tomorrow being
 today's teservations, and, wn, uh, Trion James hid made another reservation at 6:00 p.m,, and so
 then ft, there was kind of like, when we got here this morning there was kind ~flike a SO-SO
 dum~ of liko whether or not he was gonna be let up to the l'lStaurant, but then we were told
 IU'O\lnd 2:30 just to cancel the reHrVation. He wouldn't be coming in.

Det Luis Morales:       Okay.

Jackson Sturkey:        And I think that's like everything.
Det Luis Morales: Can you, can.you tell us about your kitchen? Uh, on this specific date, uh,
Ottober 21 •, was the kitchen still open when, uh, when, uh, Trion James had arrived?

Jackaon Stmkey:       Um, yeah. The kitchen stays open 'tit about Jiko 8:00, 8:10. Uh, we
designate about an hour and a half for someone to dine 'cause it's like then that's half an hour for




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 Case 1:22-cv-02463-PGG Document 50-15 Filed 05/22/23 Page 4 of 5
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your appetizers. half an hour fi>r }'01D' main course, half an hour for your dessert, and so it's one
of those thinas where we get to like 8:00 or something, uh, we tend.to, you know, not seat
anyone for tull dining. but also the observatory cloaes at 7, so normally by that time everyone
whose, oould possibly be in haa already been in,
Det. Luis Mortdes: . Right.

Jackson Sturkey: So the other, eo the kitchm was still open, still serving. We still bad some
s ~ uh, going. Um, yeah.                                       ·

Det. Luis Morales: And wh. what was bis, uh, did, did he say anything else to you when he
mad& the phone calls to -you? Was he, did he curse or rude or just telling you be was late?

laekaon Sturkey:       Uh, just telling me he was late and then insisting that he would be able to
set up because of-
Det. Luis Moralei,:     He's a sergeant?

Jackson Sturkey.     - because he was a sergemt, and then, uh, so not rude or anything. Just,
uh. uh, you know, when I offered to transfer him to guest services, just dismissive of that
suggestion.

Det, Luis Morales:      ~ytbing else   ••••?
Other Speaker:          No, I don't have any questions.

Det. Luis Morales:      Is there anything you feel that we haven't asked that might be pertinent?

Jackson Sturkey;        I don't think, I don't think so. Um -
Det. Luis Morales:      Okay.

Jackson Sturkey:        -yeah. I don't think so.
Det. Luia Morales:      Give ;you my card.

Jackson Sturkey~        Okay.

Del Luis Morales:       If 'there's anything that you fed you, we need to add later on, feel free to
call.
Jackaon Sturkey:        Absolutely.

Det. Luis Morales:      Okay. Time is now 162~ hours and this concludes the interview.




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Case 1:22-cv-02463-PGG Document 50-15 Filed 05/22/23 Page 5 of 5

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